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     ~AO 2458      (Rev. 9/00) Judgment in a Criminal Case                                                                 FILED
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                   Sheet 1
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                                              UNITED STATES DISTRICT Co R(f~:::",.
                                                                                                               SO\.;""t',U~N [;!lS.ili;'::; ('~ Cil;,~.'':ORNIA
                                                   SOUTHERN DISTRICT OF CALlFORNI......
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                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                      JAIME ULLOA-VALENCIA (3)                                     Case Number: llCRl097-LAB
                                                                                    NATHAN FENEIS, FEDERAL DEFENDERS, INC.
                                                                                   Defendant's Attorney
    REGISTRATION NO. 22640298

    D
    THE DEFENDANT:
    ~ pleaded guilty to count(s) FOUR OF THE SUPERSEDING INDICTMENT

    D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty,
          Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                          Nature ofOrrense                                                                                Number(s)
8 USC 1326                            ATTEMPTED ENTRY AFTER DEPORTATION                                                                       4




        The defendant is sentenced as provided in pages 2 through _ _"",4_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 ~ Count(s) REMAINING COUNTS
                                                             ----------------------------------------------
                                                                         is D arelKl dismissed on the motion of the United States.
 181 Assessment: $\00.00 WAIVED

 181 No fine                                        D Forfeiture pursuant to order filed ----------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, cosl~, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               AUGUST 22, 2011




                                                                              HON. LARRY ALAN BURNS
                                                                               UNITED STATES DISTRICT JUDGE
                                                                                                                                                  llCRlO97-LAB
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